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U.S. Department of Justice

Channing D. Phillips
Acting United States Attorney

 

District of Columbia

 

Judiciary Center
555 Fourth St. NW.
Washington, D.C. 20530

September 3, 2021 = ;
Paul Y. Kiyonaga F ! = E D
Kiyonaga & Soltis, P.C. SEP 10 2021
1827 Jefferson Place, N.W.
Washington, D.C. 20036 Clerk, U.S. District & Bankruptcy

Courts for the District of Columbia

Defense Counsel

Re: United States v. Cleveland Grover Meredith, Jr.
Criminal Case No. 21-CR-159 ABJ

Dear Mr. Kiyonaga:

This letter sets forth the full and complete plea offer to your client, Cleveland Grover
Meredith, Jr. (hereinafter referred to as “your client” or “defendant’’), from the Office of the
United States Attorney for the District of Columbia (hereinafter also referred to as ‘“‘the
Government” or “this Office”). This plea offer expires on September 7, 2021. If your client
accepts the terms and conditions of this offer, please have your client execute this document in
the space provided below. Upon receipt of the executed document, this letter will become the
Plea Agreement (hereinafter referred to as “this Agreement’’). The terms of the offer are as
follows:

1. Charges and Statutory Penalties

Your client agrees to plead guilty to Count One in the Indictment, charging your client
with Interstate Communication of Threats, in violation of Title 18 U.S.C. § 875(c).

Your client understands that a violation of 18 U.S.C. §875(c) carries a maximum
sentence of 5 years of imprisonment; a fine of $250,000, pursuant to 18 U.S.C. § 3571(b)(3); a
term of supervised release of not more than 3 years, pursuant to 18 U.S.C. § 3583 (b)(2); and an
obligation to pay any applicable interest or penalties on fines and restitution not timely made.

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In addition, your client agrees to pay a special assessment of $100 per felony conviction
to the Clerk of the United States District Court for the District of Columbia. Your client also
understands that, pursuant to 18 U.S.C. § 3572 and § 5E1.2 of the United States Sentencing
Commission, Guidelines Manual 2018 (hereinafter “Sentencing Guidelines,” “Guidelines,” or
“U.$.$.G.”), the Court may also impose a fine that is sufficient to pay the federal government the
costs of any imprisonment, term of supervised release, and period of probation. Further, your
client understands that, if your client has two or more convictions for a crime of violence or
felony drug offense, your client may be subject to the substantially higher penalties provided for
in the career-offender statutes and provisions of the Sentencing Guidelines.

2. Factual Stipulations

Your client agrees that the attached “Statement of Offense” fairly and accurately
describes your client’s actions and involvement in the offense to which your client is pleading
guilty. Please have your client sign and return the Statement of Offense as a written proffer of
evidence, along with this Agreement.

3, Additional Charges

In consideration of your client’s guilty plea to the above offense, your client will not be
further prosecuted criminally by this Office for the conduct set forth in the attached Statement of
Offense. This includes any additional threats made by your client from January 4, 2021 to
January 7, 2021, as described in |P 5 of the Statement of Offense.

As part of this plea, the Government agrees to dismiss, with prejudice, the Information in
D.C. Superior Court, filed under case number 2021-CMD-695.

The Government will request that the Court dismiss the remaining counts of the
Indictment in this case at the time of sentencing. Your client agrees and acknowledges that the
charges to be dismissed at the time of sentencing were based in fact.

After the entry of your client’s plea of guilty to the offenses identified in paragraph 1
above, your client will not be charged with any non-violent criminal offense in violation of
Federal or District of Columbia law which was committed within the District of Columbia by
your client prior to the execution of this Agreement and about which this Office was made aware
by your client prior to the execution of this Agreement. However, the United States expressly
reserves its right to prosecute your client for any crime of violence, as defined in 18 U.S.C. § 16
and/or 22 D.C. Code § 4501, if in fact your client committed or commits such a crime of
violence prior to or after the execution of this Agreement.

4, Sentencing Guidelines Analysis

 

Your client understands that the sentence in this case will be determined by the Court,
pursuant to the factors set forth in 18 U.S.C. § 3553(a), including a consideration of the

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Sentencing Guidelines. Pursuant to Federal Rule of Criminal Procedure 11(c)(1)(B), and to
assist the Court in determining the appropriate sentence, the parties agree to the following:

A. Estimated Offense Level Under the Guidelines

The parties agree that the following Sentencing Guidelines sections apply:
U.S.S.G. § 2A6.1(a)(1) Base Offense Level 12

The government intends to seek a six-leve] enhancement pursuant to § 2A6.1(b)(1),
because the offense involved conduct evidencing an intent to carry out such threat. Your
client reserves the right to contest the application of this enhancement.

Depending on the application of § 2A6.1(b)(1), the total offense level will be either 18 or
12.

Acceptance of Responsibility

If the Court determines that U.S.S.G. § 2A6.1(b)(1) does not apply in this case, the
Government agrees that a 2-level reduction will be appropriate, pursuant to U.S.S.G. § 3E1.1,
provided that your client clearly demonstrates acceptance of responsibility, to the satisfaction of
the Government, through your client’s allocution, adherence to every provision of this
Agreement, and conduct between entry of the plea and imposition of sentence

Furthermore, if the Court determines that U.S.S.G. § 2A6.1(b)(1) applies in this case, and
assuming that your client has clearly demonstrated acceptance of responsibility, as described
above, responsibility as described in the previous sentence, the Government agrees that an
additional !-level reduction will be appropriate, pursuant to U.S.S.G. § 3E1.1(b), because your
client has assisted authorities by providing timely notice of your client’s intention to enter a plea
of guilty, thereby permitting the Government to avoid preparing for trial and permitting the
Court to allocate its resources efficiently.

Nothing in this Agreement limits the right of the Government to seek denial of the
adjustment for acceptance of responsibility, pursuant to U.S.S.G. § 3E1.1, and/or imposition of
an adjustment for obstruction of justice, pursuant to U.S.S.G. § 3C1.1, regardless of any
agreement set forth above, should your client move to withdraw your client’s guilty plea after it
is entered, or should it be determined by the Government that your client has either (a) engaged
in conduct, unknown to the Government at the time of the signing of this Agreement, that
constitutes obstruction of justice, or (b) engaged in additional criminal conduct after signing this
Agreement.

In accordance with the above, the Estimated Offense Level will be either 15 or 10.

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B. Estimated Criminal History Category

Based upon the information now available to this Office, including the Pre-Plea Criminal
History Calculation, and representations by the defense, your client has no criminal convictions.

Accordingly, your client is estimated to have 0 criminal history points and your client’s
Criminal History Category is estimated to be I. Your client acknowledges that after the pre-
sentence investigation by the United States Probation Office, a different conclusion regarding
your client’s criminal convictions and/or criminal history points may be reached and your
client’s criminal history points may increase or decrease.

Cc. Estimated Guidelines Range

Based upon the Estimated Offense Level and the Estimated Criminal History Category
set forth above, your client’s estimated Sentencing Guidelines range is:

1. 6 months to 12 months (the “Estimated Guidelines Range”) if the Court determines
that U.S.S.G. § 2A6.1(b)(1) does not apply. This estimated range contemplates a 2
level reduction for acceptance of responsibility; or

2. 18 months to 24 months (the “Estimated Guidelines Range”) if the Court determines
that U.S.S.G. § 2A6.1(b)(1) does apply: This estimated range contemplates a 3 level
reduction for acceptance of responsibility;

In addition, the parties agree that, pursuant to U.S.S.G. § 5E1.2, should the Court impose
a fine, at Guidelines level 15, the estimated applicable fine range is $7,500 to $75,000. At
Guidelines level 10, the estimated applicable fine range is $4,000 to $40,000. Your client
reserves the right to ask the Court not to impose any applicable fine.

The parties agree that, solely for the purposes of calculating the applicable range under
the Sentencing Guidelines, neither a downward nor upward departure from the Estimated
Guidelines Range set forth above is warranted. Except as provided for in the “Reservation of
Allocution” section below, the parties also agree that neither party will seek any offense-level
calculation different from the Estimated Offense Level calculated above in subsection A.

Your client understands and acknowledges that the Estimated Guidelines Range
calculated above is not binding on the Probation Office or the Court. Should the Court or
Probation Office determine that a guidelines range different from the Estimated Guidelines
Range is applicable, that will not be a basis for withdrawal or recission of this Agreement by
either party.

Your client understands and acknowledges that the terms of this section apply only to

conduct that occurred before the execution of this Agreement. Should your client commit any
conduct after the execution of this Agreement that would form the basis for an increase in your

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client’s base offense level or justify an upward departure (examples of which include, but are not
limited to, obstruction of justice, failure to appear for a court proceeding, criminal conduct while
pending sentencing, and false statements to law enforcement agents, the probation officer, or the
Court), the Government is free under this Agreement to seek an increase in the base offense level
based on that post-agreement conduct.

5. Agreement as to Sentencing Allocution

The parties further agree that a sentence within the above-mentioned Estimated
Guidelines Ranges would constitute a reasonable sentence in light of all of the factors set forth in
18 U.S.C. § 3553(a), should such a sentence be subject to appellate review notwithstanding the
appeal waiver provided below. However, the parties agree that either party may seek a variance
and suggest that the Court consider a sentence outside of the applicable Guidelines Range, based
upon the factors to be considered in imposing a sentence pursuant to 18 U.S.C. § 3553(a).

The parties further agree to recommend three years of supervised release,
6. Reservation of Allocution

The Government and your client reserve the right to describe fully, both orally and in
writing, to the sentencing judge, the nature and seriousness of your client’s misconduct,
including any misconduct not described in the charges to which your client is pleading guilty, to
inform the presentence report writer and the Court of any relevant facts, to dispute any factual
inaccuracies in the presentence report, and to contest any matters not provided for in this
Agreement. The parties also reserve the right to address the correctness of any Sentencing
Guidelines calculations determined by the presentence report writer or the court, even if those
calculations differ from the Estimated Guidelines Range calculated herein. In the event that the
Court or the presentence report writer considers any Sentencing Guidelines adjustments,
departures, or calculations different from those agreed to and/or estimated in this Agreement, or
contemplates a sentence outside the Guidelines range based upon the general sentencing factors
listed in 18 U.S.C. § 3553(a), the parties reserve the right to answer any related inquiries from
the Court or the presentence report writer and to allocute for a sentence within the Guidelines
range, as ultimately determined by the Court, even if the Guidelines range ultimately determined
by the Court is different from the Estimated Guidelines Range calculated herein.

In addition, if in this Agreement the parties have agreed to recommend or refrain from
recommending to the Court a particular resolution of any sentencing issue, the parties reserve the
right to full allocution in any post-sentence litigation. The parties retain the full right of
allocution in connection with any post-sentence motion which may be filed in this matter and/or
any proceeding before the Bureau of Prisons. In addition, your client acknowledges that the
Government is not obligated and does not intend to file any post-sentence downward departure
motion in this case pursuant to Rule 35(b) of the Federal Rules of Criminal Procedure.

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7. Court Not Bound by this Agreement or the Sentencing Guidelines

Your client understands that the sentence in this case will be imposed in accordance with
18 U.S.C. § 3553(a), upon consideration of the Sentencing Guidelines. Your client further
understands that the sentence to be imposed is a matter solely within the discretion of the Court.
Your client acknowledges that the Court is not obligated to follow any recommendation of the
Government at the time of sentencing. Your client understands that neither the Government’s
recommendation nor the Sentencing Guidelines are binding on the Court.

Your client acknowledges that your client’s entry of a guilty plea to the charged offense
authorizes the Court to impose any sentence, up to and including the statutory maximum
sentence, which may be greater than the applicable Guidelines range. The Government cannot,
and does not, make any promise or representation as to what sentence your client will receive.
Moreover, it is understood that your client will have no right to withdraw your client’s plea of
guilty should the Court impose a sentence that is outside the Guidelines range or if the Court
does not follow the Government’s sentencing recommendation. The Government and your client
will be bound by this Agreement, regardless of the sentence imposed by the Court. Any effort
by your client to withdraw the guilty plea because of the length of the sentence shall constitute a
breach of this Agreement.

8. Conditions of Release

 

Your client acknowledges that, because your client is pleading guilty to an offense
described in subparagraph (A), (B), or (C) of 18 U.S.C. § 3142(f)(1), the Court is required to
order your client to be detained pending sentencing pursuant to 18 U.S.C. § 3143(a)(2).

9. Waivers
i. Venue
Your client waives any challenge to venue in the District of Columbia.
il, Statute of Limitations

Your client agrees that, should the conviction following your client’s plea of guilty
pursuant to this Agreement be vacated for any reason, any prosecution, based on the conduct set
forth in the attached Statement of Offense, that is not time-barred by the applicable statute of
limitations on the date of the signing of this Agreement (including any counts that the
Government has agreed not to prosecute or to dismiss at sentencing pursuant to this
Agreement)may be commenced or reinstated against your client, notwithstanding the expiration
of the statute of limitations between the signing of this Agreement and the commencement or
reinstatement of such prosecution. It is the intent of this Agreement to waive all defenses based
on the statute of limitations with respect to any prosecution of conduct set forth in the attached
Statement of Offense that is not time-barred on the date that this Agreement is signed.

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ili. Trial Rights

Your client understands that by pleading guilty in this case your client agrees to waive
certain rights afforded by the Constitution of the United States and/or by statute or rule. Your
client agrees to forego the right to any further discovery or disclosures of information not already
provided at the time of the entry of your client’s guilty plea. Your client also agrees to waive,
among other rights, the right to be indicted by a Grand Jury, the right to plead not guilty, and the
right to a jury trial. If there were a jury trial, your client would have the right to be represegnted
by counsel, to confront and cross-examine witnesses against your client, to challenge the
admissibility of evidence offered against your client, to compel witnesses to appear for the
purpose of testifying and presenting other evidence on your client’s behalf, and to choose
whether to testify. If there were a jury trial and your client chose not to testify at that trial, your
client would have the right to have the jury instructed that your client’s failure to testify could
not be held against your client. Your client would further have the right to have the jury
instructed that your client is presumed innocent until proven guilty, and that the burden would be
on the United States to prove your client’s guilt beyond a reasonable doubt. If your client were
found guilty after a trial, your client would have the right to appeal your client’s conviction.
Your client understands that the Fifth Amendment to the Constitution of the United States
protects your client from the use of self-incriminating statements in a criminal prosecution. By
entering a plea of guilty, your client knowingly and voluntarily waives or gives up your client’s
right against self-incrimination.

Your client acknowledges discussing with you Rule 11(f) of the Federal Rules of
Criminal Procedure and Rule 410 of the Federal Rules of Evidence, which ordinarily limit the
admissibility of statements made by a defendant in the course of plea discussions or plea
proceedings if a guilty plea is later withdrawn. Your client knowingly and voluntarily waives the
rights that arise under these rules in the event your client withdraws your client’s guilty plea or
withdraws from this Agreement after signing it.

Your client also agrees to waive all constitutional and statutory rights to a speedy
sentence and agrees that the plea of guilty pursuant to this Agreement will be entered at a time
decided upon by the parties with the concurrence of the Court. Your client understands that the
date for sentencing will be set by the Court

Iv. Appeal Rights

Your client agrees to waive, insofar as such waiver is permitted by law, the right to
appeal the conviction in this case on any basis, including but not limited to claims that (1) the
statutes to which your client is pleading guilty is unconstitutional, and (2) the admitted conduct
does not fall within the scope of the statutes. Your client understands that federal law,
specifically 18 U.S.C. § 3742, affords defendants the right to appeal their sentences in certain
circumstances. Your client also agrees to waive the right to appeal the sentence in this case,
including but not limited to any term of imprisonment, fine, forfeiture, award of restitution, term
or condition of supervised release, authority of the Court to set conditions of release, and the
manner in which the sentence was determined, except to the extent the Court sentences your
client above the statutory maximum or guidelines range determined by the Court. In agreeing to

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this waiver, your client is aware that your client’s sentence has yet to be determined by the
Court. Realizing the uncertainty in estimating what sentence the Court ultimately will impose,
your client knowingly and willingly waives your client’s right to appeal the sentence, to the
extent noted above, in exchange for the concessions made by the Government in this Agreement.
Notwithstanding the above agreement to waive the right to appeal the conviction and sentence,
your client retains the right to appeal on the basis of ineffective assistance of counsel, but not to
raise on appeal other issues regarding the conviction or sentence.

V. Collateral Attack

Your client also waives any right to challenge the conviction entered or sentence imposed
under this Agreement or otherwise attempt to modify or change the sentence or the manner in
which it was determined in any collateral attack, including, but not limited to, a motion brought
under 28 U.S.C. § 2255 or Federal Rule of Civil Procedure 60(b), except to the extent such a
motion is based on newly discovered evidence or on a claim that your client received ineffective
assistance of counsel. Your client reserves the right to file a motion brought under 18 U.S.C.

§ 3582(c)(2). but agrees to waive the right to appeal the denial of such a motion.

Vi. Hearings by Video Teleconference and/or Teleconference

Your client agrees to consent, under the CARES Act, Section 15002(b)(4) and otherwise,
to hold any proceedings in this matter — specifically including but not limited to presentment,
initial appearance, plea hearing, and sentencing — by video teleconference and/or by
teleconference and to waive any rights to demand an in-person/in-Court hearing. Your client
further agrees to not challenge or contest any findings by the Court that it may properly proceed
by video teleconferencing and/or telephone conferencing in this case because, due to the
COVID-19 pandemic, an in-person/in-Court hearing cannot be conducted in person without
seriously jeopardizing public health and safety and that further there are specific reasons in this
case that any such hearing, including a plea or sentencing hearing, cannot be further delayed
without serious harm to the interests of justice.

13. Use of Self-Incriminating Information

The Government agrees pursuant to U.S.S.G. § 1B1.8(a), that self-incriminating
information provided by your client pursuant to this Agreement or during the course of
debriefings conducted in anticipation of this Agreement, and about which the Government had
no prior knowledge or insufficient proof in the absence of your client’s admissions, will not be
used by the Government at the time of sentencing for the purpose of determining the applicable
guideline range. However, all self-incriminating information provided by your client may be
used for the purposes and in accordance with the terms identified in U.S.S.G. § 1B1.8(b).

14. Breach of Agreement

Your client understands and agrees that, if after entering this Agreement, your client fails
specifically to perform or to fulfill completely each and every one of your client’s obligations
under this Agreement, or engages in any criminal activity prior to sentencing, your client will

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have breached this Agreement. In the event of such a breach: (a) the Government will be free
from its obligations under this Agreement; (b) your client will not have the right to withdraw the
guilty plea; (c) your client will be fully subject to criminal prosecution for any other crimes,
including perjury and obstruction of justice; and (d) the Government will be free to use against
your client, directly and indirectly, in any criminal or civil proceeding, all statements made by
your client and any of the information or materials provided by your client, including such
statements, information and materials provided pursuant to this Agreement or during the course
of any debriefings conducted in anticipation of, or after entry of, this Agreement, whether or not
the debriefings were previously characterized as “‘off-the-record” debriefings, and including your
client’s statements made during proceedings before the Court pursuant to Rule 11 of the Federal
Rules of Criminal Procedure.

Your client understands and agrees that the Government shall be required to prove a
breach of this Agreement only by a preponderance of the evidence, except where such breach is
based on a violation of federal, state, or local criminal law, which the Government need prove
only by probable cause in order to establish a breach of this Agreement.

Nothing in this Agreement shall be construed to permit your client to commit perjury, to
make false statements or declarations, to obstruct justice, or to protect your client from
prosecution for any crimes not included within this Agreement or committed by your client after
the execution of this Agreement. Your client understands and agrees that the Government
reserves the right to prosecute your client for any such offenses. Your client further understands
that any perjury, false statements or declarations, or obstruction of justice relating to your client’s
obligations under this Agreement shall constitute a breach of this Agreement. In the event of
such a breach, your client will not be allowed to withdraw your client’s guilty plea.

15. Complete Agreement

No agreements, promises, understandings, or representations have been made by the
parties or their counsel other than those contained in writing herein, nor will any such
agreements, promises, understandings, or representations be made unless committed to writing
and signed by your client, defense counsel, and an Assistant United States Attorney for the
District of Columbia.

Your client further understands that this Agreement is binding only upon the Criminal
and Superior Court Divisions of the United States Attorney’s Office for the District of Columbia.
This Agreement does not bind the Civil Division of this Office or any other United States
Attomey’s Office, nor does it bind any other state, local, or federal prosecutor. It also does not
bar or compromise any civil, tax, or administrative claim pending or that may be made against
your client.

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If the foregoing terms and conditions are satisfactory, your client may so indicate by
signing this Agreement and the Statement of Offense, and returning both to me no later than

September 7, 2021.

By:

Sincerely yours,

Channing D. Phillips

Channing D. Phillips
Acting United States Attorney

/s/ Anthony Franks
Anthony L. Franks
Missouri Bar No. 50217MO
Assistant United States Attorney
Detailee — Federal Major Crimes
United States Attorney’s Office for
the District of Columbia
Telephone No. (314) 539-3995
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DEFENDANT'S ACCEPTANCE

I have read every page of this Agreement and have discussed it with my attorney, Paul
Kiyonga. I fully understand this Agreement and agree to it without reservation. I do this
voluntarily and of my own free will, intending to be legally bound. No threats have been made
to me nor am | under the influence of anything that could impede my ability to understand this
Agreement fully. 1 am pleading guilty because I am in fact guilty of the offense identified in this
Agreement.

I reaffirm that absolutely no promises, agreements, understandings, or conditions have
been made or entered into in connection with my decision to plead guilty except those set forth
in this Agreement. I am satisfied with the legal services provided by my attorney in connection
with this Agreement and matters related to it.

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Cleveland Grover Meredith, Jr.
Defendant

ATTORNEY'S ACKNOWLEDGMENT
I have read every page of this Agreement, reviewed this Agreement with my client,
Cleveland Grover Meredith, Jr., and fully discussed the provisions of this Agreement with my

client. These pages accurately and completely set forth the entire Agreement. I concur in my
client’s desire to plead guilty as set forth in this Agreement.

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Paul Kiyonaga
Attorney for Defendant

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